Case 2:21-cv-09197-DSF-MRW Document 1-4 Filed 11/23/21 Page 1 of 17 Page ID #:189




                                        EXHIBIT 4




   Sharp v. Shinhan et al., Exhibit 4
   GB002Subscription, Page 1 of 17
Case 2:21-cv-09197-DSF-MRW Document 1-4 Filed 11/23/21 Page 2 of 17 Page ID #:190




   Sharp v. Shinhan et al., Exhibit 4
   GB002Subscription, Page 2 of 17
Case 2:21-cv-09197-DSF-MRW Document 1-4 Filed 11/23/21 Page 3 of 17 Page ID #:191
Case 2:21-cv-09197-DSF-MRW Document 1-4 Filed 11/23/21 Page 4 of 17 Page ID #:192




   Sharp v. Shinhan et al., Exhibit 4
   GB002Subscription, Page 4 of 17
Case 2:21-cv-09197-DSF-MRW Document 1-4 Filed 11/23/21 Page 5 of 17 Page ID #:193




   Sharp v. Shinhan et al., Exhibit 4
   GB002Subscription, Page 5 of 17
Case 2:21-cv-09197-DSF-MRW Document 1-4 Filed 11/23/21 Page 6 of 17 Page ID #:194




   Sharp v. Shinhan et al., Exhibit 4
   GB002Subscription, Page 6 of 17
Case 2:21-cv-09197-DSF-MRW Document 1-4 Filed 11/23/21 Page 7 of 17 Page ID #:195




   Sharp v. Shinhan et al., Exhibit 4
   GB002Subscription, Page 7 of 17
Case 2:21-cv-09197-DSF-MRW Document 1-4 Filed 11/23/21 Page 8 of 17 Page ID #:196




   Sharp v. Shinhan et al., Exhibit 4
   GB002Subscription, Page 8 of 17
Case 2:21-cv-09197-DSF-MRW Document 1-4 Filed 11/23/21 Page 9 of 17 Page ID #:197




   Sharp v. Shinhan et al., Exhibit 4
   GB002Subscription, Page 9 of 17
Case 2:21-cv-09197-DSF-MRW Document 1-4 Filed 11/23/21 Page 10 of 17 Page ID #:198




   Sharp v. Shinhan et al., Exhibit 4
   GB002Subscription, Page 10 of 17
Case 2:21-cv-09197-DSF-MRW Document 1-4 Filed 11/23/21 Page 11 of 17 Page ID #:199




   Sharp v. Shinhan et al., Exhibit 4
   GB002Subscription, Page 11 of 17
Case 2:21-cv-09197-DSF-MRW Document 1-4 Filed 11/23/21 Page 12 of 17 Page ID #:200




   Sharp v. Shinhan et al., Exhibit 4
   GB002Subscription, Page 12 of 17
Case 2:21-cv-09197-DSF-MRW Document 1-4 Filed 11/23/21 Page 13 of 17 Page ID #:201




   Sharp v. Shinhan et al., Exhibit 4
   GB002Subscription, Page 13 of 17
Case 2:21-cv-09197-DSF-MRW Document 1-4 Filed 11/23/21 Page 14 of 17 Page ID #:202




   Sharp v. Shinhan et al., Exhibit 4
   GB002Subscription, Page 14 of 17
Case 2:21-cv-09197-DSF-MRW Document 1-4 Filed 11/23/21 Page 15 of 17 Page ID #:203




   Sharp v. Shinhan et al., Exhibit 4
   GB002Subscription, Page 15 of 17
Case 2:21-cv-09197-DSF-MRW Document 1-4 Filed 11/23/21 Page 16 of 17 Page ID #:204




   Sharp v. Shinhan et al., Exhibit 4
   GB002Subscription, Page 16 of 17
Case 2:21-cv-09197-DSF-MRW Document 1-4 Filed 11/23/21 Page 17 of 17 Page ID #:205




   Sharp v. Shinhan et al., Exhibit 4
   GB002Subscription, Page 17 of 17
